                             UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF TENNESSEE
                                    AT WINCHESTER

UNITED STATES OF AMERICA                               )
                                                       )    Case No. 4:09-cr-5
vs.                                                    )
                                                       )    JUDGE MATTICE
DAVID NIX                                              )    MAGISTRATE JUDGE LEE


                               MEMORANDUM & ORDER
                             ARRAIGNMENT ON INDICTMENT

       In accordance with Rule 10 of the Federal Rules of Criminal Procedure, an arraignment
of defendant DAVID NIX on the indictment returned by the Grand Jury was held before the
undersigned on March 16, 2009.

       Those present for the hearing included:

               (1) AUSA Steve Neff for the USA.
               (2) The defendant, DAVID NIX.
               (3) Atty. Bill Killian for defendant.
               (4) Courtroom Deputy Kelli Jones.

        After being sworn in due form of law the defendant was informed or reminded of his
privilege against self-incrimination accorded under the 5th Amendment to the United States
Constitution.

       The person present was the defendant named in the indictment.

      The defendant acknowledged having been provided with a copy of the indictment and
acknowledged having the opportunity of reviewing the indictment with counsel.

       The defendant waived a formal reading of the indictment in open court. The defendant
entered not guilty pleas to each count of the indictment.

      Presently, the case is assigned the dates set forth in a separate Modified Discovery and
Scheduling Order.

       ENTER.

       Dated: March 16, 2009                  s/William B. Mitchell Carter
                                              UNITED STATES MAGISTRATE JUDGE




Case 4:09-cr-00005-TRM-SKL           Document 91 Filed 03/16/09           Page 1 of 1     PageID
                                           #: 151
